  Case: 1:98-cr-00434 Document #: 335 Filed: 07/31/07 Page 1 of 7 PageID #:190



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
     Plaintiff-Appellee,                   )
                                           )
     v.                                    )     No.   98 CR 434-9
                                           )
MICHAEL BLACK,                             )
                                           )
     Defendant-Appellant.                  )

                    MEMORANDUM ORDER AND STATEMENT

     Michael Black (“Black”), acting pro se, has filed a notice

of appeal from this Court’s orders of June 19 and July 9, 20071

that rejected his most recent effort to attack the sentence that

had been imposed on him and that he is now serving--this time via

a petition for a writ of audita querela.            Although it is unclear

whether such an effort requires compliance with the certificate

of appealability (“COA”) provisions that apply to appeals from

the denial of motions under 28 U.S.C. §2255,2 this Court will

address that subject out of what may be an abundance of caution.

     But before it does so, this Court turns to Black’s required

compliance with Section 1915.         Although an effort to obtain a

writ of audita querela regarding a federal sentence may perhaps,

like a Section 2255 motion, be treated as a continuing part of

the underlying criminal case so that no filing fee is required,


     1
        That July 9 order mistakenly referred to the earlier one
as dated June 9. Copies of both orders are attached.
     2
        All further references to Title 28’s provisions will
simply take the form “Section--.”
  Case: 1:98-cr-00434 Document #: 335 Filed: 07/31/07 Page 2 of 7 PageID #:191



an appeal carries its own independent filing fee requirement,

thus obligating Black to pay the $455 aggregate of such fees.

Hence Black is ordered either to pay the $455 in fees or,

alternatively, to submit pursuant to Section 1915:

           1.   a completed In Forma Pauperis Application (copies

     of the form for that purpose are being sent to him together

     with a copy of this order) and

           2.   a printout covering all transactions in his

     prisoner trust fund account for the six-month period

     preceding his notice of appeal.

If Black pursues the latter course, this Court will promptly

determine his eligibility for in forma pauperis status and, if he

is so eligible, the initial partial payment required pursuant to

Section 1915(b)(1).

     As for Black’s possible need for a COA, this Court’s June 19

and July 9 orders explain the lack of merit in Black’s most

recent attempt to challenge his conviction and sentence.                It

therefore declines to issue such a COA.

     If a COA is indeed required before Black may proceed with

his appeal, Black is of course entitled to apply to the Court of

Appeals for that COA pursuant to Section 2253(c)(1).               In the

meantime, however, he is required to comply with the Section 1915

requirements set out at the outset of this order on or before

August 20, 2007 (unless in that instance he advises this Court


                                       2
  Case: 1:98-cr-00434 Document #: 335 Filed: 07/31/07 Page 3 of 7 PageID #:192



that he has requested a printout of his trust fund account

transactions but its production has been delayed).              If he fails

to conform to the provisions in this paragraph, this Court would

expect to recommend to our Court of Appeals that the appeal be

dismissed for nonpayment of the filing fees or of the initial

payment on account of such fees, as the case may be.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge

Date: July 31, 2007




                                       3
  Case: 1:98-cr-00434 Document #: 335 Filed: 07/31/07 Page 4 of 7 PageID #:193



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

MICHAEL BLACK,                             )
                                           )
                        Petitioner,        )
                                           )
     v.                                    )     No.   98 CR 434-9
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                        Respondent.        )

                             MEMORANDUM ORDER

     This Court has just received the most recent submission from

Michael Black (“Black”), who continues his pro se post-conviction

efforts to obtain relief from the 168-month sentence imposed by

this Court some eight years ago (on June 6, 1999).3              This time

Black captions his submission “Petitioner’s Writ of Audita

Querela,” hoping that his thus-labeled request will not run afoul

of the prohibition against successive motions under 28 U.S.C.

§2255.

     But in doing so, even though Black says he recognizes the

limitations on the issuance of such a writ (on that score he

cites our Court of Appeals’ affirmance of this Court’s denial of

the writ in United States v. Johnson, 962 F.2d 579 (7th Cir.


     3
        See this Court’s memorandum orders of July 6, 2000
(followed by this Court’s August 17, 2001 statement as to why no
certificate of appealability should issue and our Court of
Appeals’ denial of a like request on December 27, 2001),
November 12, 2003, January 29, 2004, February 11, 2004 (affirmed
by our Court of Appeals on November 30, 2004), March 10, 2004,
May 13, 2004, August 16, 2005, March 27, 2007 and April 30, 2007.

                                       4
  Case: 1:98-cr-00434 Document #: 335 Filed: 07/31/07 Page 5 of 7 PageID #:194



1992)), he impermissibly attempts to use that vehicle to urge the

retroactivity of United States v. Booker, 543 U.S. 220 (2005) and

Crawford v. Washington, 541 U.S. 36 (2004) to invalidate his

conviction and sentence.       That approach cannot prevail, and

Black’s current petition is denied.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge
Date:   June 19, 2007




                                       5
  Case: 1:98-cr-00434 Document #: 335 Filed: 07/31/07 Page 6 of 7 PageID #:195



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

MICHAEL BLACK,                             )
                                           )
                        Petitioner,        )
                                           )
     v.                                    )     No.   98 CR 434-9
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                        Respondent.        )

                             MEMORANDUM ORDER

     On June 9, 2007 this Court issued a memorandum order (the

“Order”) denying the then most recent effort by Michael Black

(“Black”) to attack the sentence that had been imposed on him and

that he is now serving--this time via a petition for a writ of

audita querela.     Now Black, continuing to act pro se, has

tendered two motions, one seeking leave to supplement his

petition for that writ and the other seeking reconsideration and

clarification of the Order.        Because consideration of the latter

motion essentially obviates any need to deal in substantive terms

with the former, which would not change the result in any event,

this Court turns to the proposal for reconsideration and

clarification.

     To begin with, Black mistakenly asserts that the Order

failed “to make specific findings of fact and conclusions of

law,” citing as authority for that contention Fed. R. Civ. P.

52(a).    But that requirement is simply inapplicable to a court’s


                                       6
  Case: 1:98-cr-00434 Document #: 335 Filed: 07/31/07 Page 7 of 7 PageID #:196



writing such as the Order--one that dispatches a pleading for its

legal insufficiency.

     More substantively, Black purports to find in United States

v. Booker, 543 U.S. 220 (2005) a holding that if accepted would

invalidate all pre-Booker sentences, on the premise stated in

Black’s Motion for Reconsideration at 2-3:

     Therefore, the District Court had no statutory
     authority pursuant to 18 U.S.C. §3553(b)(1) to impose
     petitioner’s sentence or issue his judgment and
     commitment. The lack of statutory authority to make
     particular order or judgment is akin to lack of
     subject-matter jurisdiction, and is subject to
     collateral attack. See 46 Am. Jur. 2d §24 Note 3.

That is simply not the law.        Booker has not emptied out the

federal prisons by invalidating all sentences, no matter how old,

that were imposed under the then-universal understanding that the

Sentencing Guidelines were mandatory.

     That then calls for the denial of Black’s Motion for

Reconsideration and Clarification.          And because his Motion To

Amend Pleading would do nothing more than advance the same

contention that Black’s sentence was rendered void by Booker,

that motion is also denied.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge

Date:   July 9, 2007




                                       7
